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                      IN THE UNITED STATES DISTRICT COURT
                     FOR THE NORTHERN DISTRICT OF ILLINOIS
                                EASTERN DIVISION

MARC JACOBS TRADEMARKS, LLC and
MARC JACOBS INTERNATIONAL, LLC,                    Case No. 20-cv-00807

               Plaintiffs,                         Judge Charles R. Norgle
v.
                                                   Magistrate Judge Susan E. Cox
JOUSTIMO STYLISH STORE, et al.,

               Defendants.


                      NOTICE OF DISMISSAL UNDER RULE 41(a)(1)

       Pursuant to Rule 41(a)(1) of the Federal Rules of Civil Procedure, Plaintiffs Marc Jacobs

Trademarks, LLC (“MJT”) and Marc Jacobs International, LLC (“MJI”) (collectively, the “MJ

Entities” or “Plaintiffs”), hereby dismisses this action with prejudice as to the following

Defendants:

                Defendant Name                                     Line No.
              shuizhongyueshop999                                    198
                yulufushshop2015                                      201

Dated this 17th day of April 2020.          Respectfully submitted,

                                            /s/ Allyson M. Martin
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                                            Justin R. Gaudio
                                            Allyson M. Martin
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                                            LLC and Marc Jacobs International, LLC
